     Case 2:90-cv-00520-KJM-DB Document 8340 Filed 07/24/24 Page 1 of 3


 1   ROB A. BONTA, State Bar No. 202668                        HANSON BRIDGETT LLP
     Attorney General of California                            PAUL B. MELLO, SBN 179755
 2   DAMON MCCLAIN, State Bar No. 209508                       SAMANTHA D. WOLFF, SBN 240280
     Supervising Deputy Attorney General                       KAYLEN KADOTANI, SBN 294114
 3   ELISE OWENS THORN, State Bar No. 145931                   DAVID C. CASARRUBIAS, SBN 321994
     NAMRATA KOTWANI, State Bar No. 308741                       1676 N. California Boulevard, Suite 620
 4   Deputy Attorneys General                                    Walnut Creek, CA 94596
      1300 I Street, Suite 125                                    Telephone: (925) 746-8460
 5    P.O. Box 944255                                             Fax: (925) 746-8490
      Sacramento, CA 94244-2550                                   E-mail: PMello@hansonbridgett.com
 6    Telephone: (916) 210-7318                                Attorneys for Defendants
      Fax: (916) 324-5205
 7    E-mail: Elise.Thorn@doj.ca.gov
      Attorneys for Defendants
 8

 9                                   IN THE UNITED STATES DISTRICT COURT
10                                 FOR THE EASTERN DISTRICT OF CALIFORNIA
11                                              SACRAMENTO DIVISION
12

13
     RALPH COLEMAN, et al.,                                        Case No. 2:90-cv-00520 KJM-DB (PC)
14
                                                   Plaintiffs, STIPULATED REQUEST AND ORDER
15                                                             TO MODIFY THE DEADLINES FOR
                              v.                               PAYMENT OF FINES [ECF NOS. 8291
16                                                             AND 8329]
17   GAVIN NEWSOM, et al.,                                         Judge: The Hon. Kimberly J. Mueller
18                                               Defendants.
19

20            On July 2, 2024, the Court granted Defendants’ request for leave to file a motion to stay the
21   court’s June 25, 2024 and June 27, 2024 orders regarding contempt and payment of fines. ECF
22   No. 8313. Defendants’ motion to stay (ECF No. 8331) is fully briefed and awaits a ruling from
23   the Court. The Court has indicated it will rule on that motion before noon on July 26, 2024. ECF
24   No. 8329 at 3.
25            Two sets of fines are currently due under the contempt order. The first set (nearly $112
26   million) is due July 25, 2024. ECF No. 8291 at 72. The second set (nearly $10 million) is due by
27   noon on July 26, 2024. ECF No. 8329 at 3.
28
     20053643.1 [4513925.1]                                    1
                                   Stip. Request and Order Modify Deadlines Payment Fines (2:90-cv-00520 KJM-DB (PC))
     Case 2:90-cv-00520-KJM-DB Document 8340 Filed 07/24/24 Page 2 of 3


 1            The Court has not yet ruled on Defendants’ motion to stay, and according to its July 12
 2   order, might not do so until after the deadline for Defendants to deposit the first set of fines with
 3   the Court on July 25. ECF No. 8329 at 3. Additionally, if the Court rules on the stay motion on
 4   July 26, Defendants may not have sufficient time to comply with the Court’s order that the second
 5   set of fines be deposited by noon that day.
 6            To ensure that Defendants do not have to deposit the fines until after the Court rules on the
 7   motion to stay and to allow Defendants sufficient time to deposit the funds after the Court rules
 8   on that motion, the parties agree that the court should extend the July 25 and July 26 deadlines to
 9   July 29. This deadline would also allow Defendants to seek further relief in the Ninth Circuit, if
10   necessary, after the Court issues its ruling and before depositing the fines with the Court.
11            Accordingly, the parties jointly request that the Court enter an order extending Defendants’
12   deadline to deposit both sets of fines to July 29, 2024.
13            IT IS SO STIPULATED.
14   ///
15   ///
16   ///
17

18

19

20

21

22

23

24

25

26

27

28
     20053643.1 [4513925.1]                               2
                              Stip. Request and Order Modify Deadlines Payment Fines (2:90-cv-00520 KJM-DB (PC))
     Case 2:90-cv-00520-KJM-DB Document 8340 Filed 07/24/24 Page 3 of 3


 1   Dated: July 24, 2024                                      ROB A. BONTA
                                                               ATTORNEY GENERAL OF CALIFORNIA
 2

 3                                                            /s/ Damon McClain
                                                               DAMON MCCLAIN
 4                                                             SUPERVISING DEPUTY ATTORNEY GENERAL
                                                              Attorneys for Defendants
 5
     Dated: July 24, 2024                                     HANSON BRIDGETT LLP
 6
                                                              /s/ Paul B. Mello
 7                                                            PAUL B. MELLO
 8                                                            SAMANTHA D. WOLFF
                                                              Attorneys for Defendants
 9
     Dated: July 24, 2024                                     ROSEN BIEN GALVAN & GRUNFELD LLP
10
                                                              /s/ Ernest Galvan
11                                                            ERNEST GALVAN
                                                              Attorneys for Plaintiffs
12

13

14            The court signed its July 24, 2024 Order, ECF No. 8339, denying defendants’ motion to

15   stay, ECF No. 8311-1, before the parties filed the foregoing stipulation. The stipulated request to

16   extend both deadlines for deposit of fines is moot, as the court has resolved the motion to stay

17   prior to the expiration of either deadline. Nonetheless, under the circumstances the court

18   exercises its discretion and permits both deposits to be made by 4:00 p.m. on July 29, 2024.

19            IT IS SO ORDERED.

20   DATED: July 24, 2024.

21

22

23

24

25

26

27

28
     20053643.1 [4513925.1]                               3
                              Stip. Request and Order Modify Deadlines Payment Fines (2:90-cv-00520 KJM-DB (PC))
